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      Re: Possible meeting in Quito




      Ok I will be looking forward to your arrival and I have already spoken to Pedro Solines so that he can talk to
      the Presi, he is the Public Administration Secretary.

      Sent from my iPhone

      On 8 Jan 2016, at 8:17 a.m., ilbengoetxea <ilbengoetxea@albacora.es> wrote:


       |
      My dear Carlos,



      I wanted to let you know that from January 27 to January 30, 2016, I will be in Panama at a TUNIDOS
      CONFERENCE. Therefore, I would be grateful if in the following week you could arrange a meeting for me
      at the CARONDELET.


      Wishing you health and good fortune this new year 2016, take care.



      Iñaki Latxaga


      ______________________________________________________________________________________________________________________________________________________________________


      NOTICE: The information contained in this email may be confidential and for the exclusive use of the
      addressee, be subject to professional secrecy, and its disclosure is prohibited. Also, according to
      the LOPD 15/1999, we inform you that your data will be treated in a file, under the responsibility of
      ALBACORA, S.A. for the maintenance and development of the established relationship, will enjoy
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      the address of this email.
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